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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                  (BALTIMORE)

RHONDA PRICE-RICHARDSON                         )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )   Case No. 1:17-cv-02038- MJG
                                                )
DCN HOLDINGS, INC., d/b/a                       )
 ACCOUNTSRECEIVABLE.COM                         )
                                                )
                                                )
      Defendant.                                )
____________________________________            )

     DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S
                           AMENDED COMPLAINT

I.      BACKGROUND

        On July 20, 2017, Plaintiff, Rhonda Price-Richardson (“Price-Richardson”) filed a one

count Complaint against Defendant DCN Holdings, Inc., d/b/a Accountsreceivable.com

(“DCN”) claiming damages under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

seq. (“FDCPA”), a consumer protection statute regulating the conduct of third parties collecting

consumer debts. The Plaintiff’s Complaint was based on two communications: (1) a May 9,

2016 collection letter from DCN to Mr. Price-Richardson (ECF No. 1, Complaint at ¶ 11) and (2)

a telephone call initiated by Plaintiff to DCN on November 8, 2016 (Complaint, ¶ 16).

        DCN moved to dismiss the Complaint (ECF No. 11), arguing that any claims relating to

the May 9, 2016 letter were time barred under the FDCPA’s one year statute limitations. See,

ECF No. 11-1 at Part IV.A. DCN also argued that because Plaintiff’s November 8, 2016

telephone call to DCN was not a communication “in connection with the collection of a debt,”

this communication was not actionable under 15 U.S.C. § 1692e. See, ECF No. 11-1 at Part




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IV.B. DCN further argued that the information communicated to Ms. Price-Richardson during

the telephone call was not, as a matter of law, an unfair or unconscionable collection practice

prohibited by 15 U.S.C. § 1692f because claims premised on purported false and misleading

statements subject to 15 U.S.C. § 1692e do not give rise to separate claims under 15 U.S.C. §

1692f. See, ECF No. 11-1 at IV.C.

           Plaintiff did not to oppose the Motion to Dismiss.                Instead, she filed an Amended

Complaint (ECF No. 16) withdrawing her time barred claims. See, ECF No. 16-3 at pgs. 6-7

(redline version of Amended Complaint withdrawing Paragraphs 28-30 of initial Complaint).

However, the Amended Complaint restates claims relating to the telephone call made by the

Plaintiff and also adds a claim under 15 U.S.C. § 1692e(2)(a).

           As explained below, even with the addition of a claim under 15 U.S.C. § 1692e(2)(a),

Plaintiff’s Amended Complaint is subject to dismissal.

II.        FACTS RELATING TO THE AMENDED COMPLAINT

           Plaintiff’s Amended Complaint alleges facts relating to DCN’s May 9, 2016 collection

letter sent on behalf of a dentist who was not paid for dental services rendered to the Plaintiff

(ECF No. 16 at ¶¶ 8-15). In acknowledgement of the argument made by DCN that all claims

relating to the collection letter are time barred, Plaintiff’s First Amended Complaint does not

assert any cause of action based on the collection letter. Instead, the Amended Complaint

focuses exclusively on the November 8, 2016 telephone call initiated by the Plaintiff (ECF No.

16, Amended Complaint at ¶ 16).1

           Ms. Price-Richardson claims when she called DCN, its employee (Lisa) accessed her

account, explained that the account was a “duplicate” and told her the account was “closed.” (¶

17). Plaintiff then alleges that Lisa told her that DCN still had the account and was reviewing it
1
    All further references to the Amended Complaint will be to paragraph number only.


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for “possible action to move forward” (¶ 17) (emphasis added). The Plaintiff also claims that

Lisa did not disclose she was a debt collector. Although Ms. Price-Richardson contends that

Lisa “attempted to collect the subject debt from Plaintiff” (¶ 19), her sworn Affidavit

accompanying her Amended Complaint (ECF No. 16-1) does not refer to any statement

disclosing an amount owed to the dentist nor does Ms. Price-Richardson claim that Lisa asked

for payment of the debt.

       Nonetheless, Plaintiff complains that she was confused by Lisa’s statements as to

whether the account was closed or whether it would be reviewed for a “possible action.” She

alleges that “it can reasonably be assumed that Defendant intended only to threaten Plaintiff by

stating it was ‘reviewing’ the account.” (¶ 29). Plaintiff further contends that “Defendant

violated 15 U.S.C. § 1692e, e(10), e(11) and f during the phone call by failing to advise Plaintiff

that it was acting in the capacity of a debt collector” (¶ 30) and that these communications “were

misleading and gained an unfair advantage over [Plaintiff], as Plaintiff believed she was dealing

with an internal department of the original creditor.” (¶ 31).

III.   THE FAIR DEBT COLLECTION PRACTICES ACT

       In 1977 Congress passed the FDCPA for the purpose of eliminating abusive debt

collection practices. 15 U.S.C. §1692(e). There are three major regulatory components

to the FDCPA. First, debt collectors are required to furnish initial written disclosures to

debtors (15 U.S.C. §1692g) and must provide an additional disclosure in follow up

communications. 15 U.S.C. §1692e(11). Second, the FDCPA limits a debt collector’s

communications with the debtor (15 U.S.C. §1692c) and/or with third parties (15 U.S.C.

§1692b). The third major regulatory component addresses prohibited conduct.

Collectors may not engage in conduct that harasses or abuses a debtor (15 U.S.C.




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§1692d); collectors may not use false or misleading statements in connection with the

collection of a debt (15 U.S.C. §1692e); and collectors may not engage in unfair

collection practices (15 U.S.C. §1692f). In this case, Plaintiff makes claims under §

1692e (false or misleading statements) and § 1692f (unfair practice).

IV.    STANDARD OF REVIEW

       In Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955 (2007), the Supreme

Court addressed the requirements needed to state a claim for relief and avoid dismissal under

Federal Rules of Civil Procedure, Rule 12(b)(6). The Court explained that while a complaint

need not contain detailed factual allegations, a plaintiff is required to provide more than labels

and conclusions and neither a “bare averment that he wants relief and is entitled to it,” nor “a

formulaic recitation of the elements of a cause of action” will suffice. Id. at 555. Instead, a

plaintiff must make factual allegations that create more than a suspicion of a legally cognizable

cause of action. Further, the factual allegations must move beyond the mere possibility of the

existence of a cause of action to establish a plausibility of entitlement to relief. Id. at 557-558.

       The Supreme Court reiterated Twombly’s requirement that to survive a motion to dismiss

“a complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct 1937, 1949 (2009)

(citations omitted). “[T]he pleading standard [that] Rule 8 announces . . . demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. The Iqbal Court further

explained that a court need not accept legal conclusions couched as factual recitations as true and

that determining whether a complaint states a plausible claim for relief is a context specific task

requiring the reviewing court to draw on its judicial experience and common sense. Id.




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       Where a complaint contains “contradictory factual allegations, the Court cannot find a

claim with ‘facial plausibility’ under the standards as set forth in Iqbal.” Saravia v. Select

Portfolio Servicing, Inc., 2014 WL 2865798, at *7 (D.Md. June 23, 2014); see also, Ramos v.

Bank of Am., N.A., 2012 WL 5928732, at *4 (D.Md. Nov. 26, 2012) (“[W]hen a complaint

contains inconsistent and self-contradictory statements, it fails to state a claim.”) (citations

omitted) and Solomon v. Capital One Bank USA, 2014 WL 7336694, at *4 (D. Md. Dec. 19,

2014) (“The Court is therefore not required to construe contradictory allegation[s] in the light

most favorable to Plaintiff’).

       In reviewing a Rule 12(b)(6) dismissal, a court may “may also consider documents

attached to the complaint, see Fed.R.Civ.P. 10(c), as well as those attached to the motion to

dismiss, so long as they are integral to the complaint and authentic.” Philips v. Pitt County

Memorial Hosp., 572 F.3d 176, 180 (4th Cir. 2009).

V.     ARGUMENT

       A.      Plaintiff’s 15 U.S.C. §1692e Claims Fail Because The Telephone Call Made
               By The Plaintiff Was Not A Communication “In Connection With The
               Collection Of A Debt”

       15 U.S.C. §1692e applies only to statements made “in connection with the collection of

any debt.” “Determining whether a communication constitutes an attempt to collect a debt is a

‘commonsense inquiry’ that evaluates the ‘nature of the parties' relationship,’ the ‘[objective]

purpose and context of the communication [ ],’ and whether the communication includes a

demand for payment.” In re Dubois, 834 F.3d 522, 527 (4th Cir. 2016), cert. denied sub nom.

Dubois v. Atlas Acquisitions, LLC, 137 S. Ct. 2158 (2017), quoting Gburek v. Litton Loan

Servicing LP, 614 F.3d 380, 385 (7th Cir. 2010) (emphasis added).




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        Here, although the relationship between the parties was based on a debt, the purpose and

context of the telephone call, when considered in light of the absence of any demand for payment

demonstrate that the call made by the Plaintiff did not concern an effort to collect a debt.

Plaintiff’s affidavit concedes that DCN did not claim any sum was due, did not demand payment,

and did not ask for payment of the debt during the telephone call. It is therefore clear, as a

matter of law, that the purpose of the call was not the collection of a debt, but instead was to

respond to Plaintiff’s question about the May, 2016 collection letter.2 This communication is

therefore not subject to the FDCPA. See, Chaudhry v. Gallerizzo, 174 F.3d 394, 410 (4th Cir.

1999) (letter providing pay-off figures sent at request of debtor not an act to collect a debt),

Grden v. Leikin Ingbe & Winters PC, 643 F.3d 169, 173 (6th Cir. 2011) (statement regarding the

balance due on the debt was only made after the Plaintiff requested the information, holding the

statements “were merely a ministerial response to a debtor inquiry, rather than part of a strategy

to make payment more likely” and therefore not subject to the FDCPA) and Bailey v. Security

Nat. Servicing Corp., 154 F.3d 384, 388-89 (7th Cir. 1998) (letter that did not demand payment,

but advised debtor about current status of an account was not made in connection with the

collection of a debt).

        Because the telephone call was initiated by the Plaintiff and because there was no attempt

to collect the debt during the call, all of Plaintiff’s claims under § 1692e and its subparts should

be dismissed.

        Further, as explained below, even if the call is deemed a communication in connection

with the collection of a debt, DCN did not violate 15 U.S.C. § 1692e or any of its subparts.




2
 Ms. Price-Richardson does not explain why she waited six (6) months to ask about credit reporting, particularly
where she concedes that DCN did not report her debt. (¶ 14).


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         B.       Even If The Telephone Call Could Be Interpreted As Made In Connection
                  With The Collection Of A Debt, The Complaint Nonetheless Fails To State A
                  Claim Under 15 U.S.C. §1692e Or Its Subparts

                  1.       Nothing That DCN’s Agent Said To The Plaintiff Related To The
                           “Character, Amount Or Legal Status Of Any Debt.”

         Plaintiff claims that DCN made a false representation as to the “character, amount, or

legal status of (the) debt” in violation of 15 U.S.C. § 1692e(2)(a). The entire conversation

of November 8 is set out in the last two sentences of Plaintiff’s affidavit.3

         Nothing that Lisa told Ms. Price-Richardson related to the “character of the debt,”

e.g., whether the debt was a secured or unsecured obligation, whether the debt was an open

end or closed end loan or whether the debt was for services rendered. See, e.g., In re Bailey,

202 B.R. 317, 319 (Bankr. E.D.Pa. 1995) (referring to the “character” of a debt as the

attributes of the obligation made when incurred). Additionally, Plaintiff’s sworn version of

the conversation excludes any plausible claim that Lisa made a representation as to the

“amount” of the debt. Likewise, Lisa made no statement regarding the “legal status” of the

debt, i.e., whether the debt was subject to legal action, was presently in suit or was subject to

a judgment.

         Because Plaintiff’s sworn description of the statements made by Lisa do not include

any representation as to the “character, amount or legal status of the debt,” Plaintiff’s claims

under 15 U.S.C. § 1692e(2)(A) fail.

                  2.       Plaintiff’s Complaint Does Not State A Claim Under 15 U.S.C. §1692e(5)

         15 U.S.C. §1692e(5) prohibits a debt collector from making “a threat to take any action

that cannot legally be taken or that is not intended to be taken.” Plaintiff’s Amended Complaint


3
 Plaintiff has referred to the affidavit and incorporated it by reference in her Complaint. Even though affidavit does
not comply with 28 U.S.C. § 1746, the statements made therein comprise the pertinent factual allegations in
Plaintiff’s Complaint, regardless of whether they were sworn to under oath.


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does not plausibly allege any threat made by DCN in the telephone call. To the extent the

statement that DCN was reviewing the account for “possible action to move forward,” could be

deemed a “threat,” this claim fails. First, Plaintiff has not and cannot in good faith allege that

reviewing an account for possible future action is illegal. Second, Plaintiff’s allegation that

Defendant threatened her by claiming it was “reviewing” the account for possible action but

in fact did not intend to take such action, this claim does not state a cause of action under §

1692e(5) because nothing in the statement threatens further action, only that the account

would be reviewed for possible action.

               3.     Plaintiff’s Complaint Does Not State A Claim Under 15 U.S.C. §1692e or
                      e(10)

       15 U.S.C. §1692e and e(10) each prohibit the use of false, deceptive or misleading

representations or means to collect a debt. Plaintiff’s Complaint is devoid of any allegation that

anything DCN’s representative said anything during the telephone call was false. Because there

was nothing in the telephone call that was deceptive or misleading to the least sophisticated

consumer, these claims must be dismissed.

               4.     Plaintiff’s Complaint Does Not State a Claim under 15 U.S.C. §1692e(11)

       Plaintiff alleges that Defendant violated 15 U.S.C. § 1692e(11) because DCN did not

disclose it was a debt collector when Ms. Price-Richardson called DCN on November 8, 2016.

Courts hold that when a consumer initiates a call, the §1692e(11) disclosure is unnecessary. See,

e.g., Nichols v. Wash. Mutual Bank, 2007 WL 4198252, at *4–5 (E.D.N.Y. Nov. 21, 2007)

(finding “persuasive” that “the FDCPA was intended to protect consumers from communications

initiated by debt collectors, not consumers”); Gorham-Dimaggio v. Countrywide Home Loans,

Inc., 2005 WL 2098068, at *2 (N.D.N.Y. Aug. 30, 2005) (“Indeed, when the consumer initiates

the communications, many of the policy reasons behind the FDCPA disappear”) and Hinds v. AR



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Res., Inc., 2013 WL 1811322, at *3 (D. Minn. Apr. 30, 2013) (“Moreover, the Court points out

that Plaintiff initiated the phone call, further bolstering the conclusion that even an

unsophisticated consumer would understand that he was speaking with a debt collector”).

       Plaintiff’s Amended Complaint and supporting affidavit also refer to DCN’s collection

letter. Her contradictory allegation that she believed that she was dealing with the original

creditor cannot plausibly support the conclusion that she did not know she was dealing with a

debt collector. See, Baptiste v. Capital One Bank (USA), N.A., 2012 WL 1657207, at *3 (D. Md.

May 10, 2012). (Plaintiff’s allegation that defendant “failed to disclose that the firm was

attempting to collect a debt is implausible in light of her factual allegation that the written

communication from the firm was “seeking and demanding payment of a ... debt.”) Moreover,

the letter that generated Plaintiff’s call to DCN unmistakably advised her that DCN was a debt

collector: (“This is an attempt to collect a debt. Any information obtained will be used for that

purpose”). See, Sayyed v. Wolpoff & Abramson, LLP, 733 F.Supp.2d 635, 641 (D. Md. 2010)

(finding that the phrase “Attorneys in the Practice of Debt Collection” “was clearly sufficient to

comply with the requirements of §1692e(11)”) and Volden v. Innovative Fin. Sys., Inc., 440 F.3d

947, 955 (8th Cir. 2006) (“Though the letter does not say it is from a debt collector, the fact that

it says it is sent in an attempt to collect a debt is sufficient for even the unsophisticated consumer

to understand that such a letter is necessarily from a ‘debt collector.’”)

       As a matter of law, Plaintiff knew that she was calling a debt collector when she called

DCN, and the alleged failure to state DCN was a debt collector does not support a claim under

15 U.S.C. §1692e(11).




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        C.      Plaintiff’s Claim Under 15 U.S.C. §1692f, Premised On The Same Conduct
                Addressed In Her 15 U.S.C. §1692e Claims, Are Subject To Dismissal

        Plaintiff alleges that Defendant also violated 15 U.S.C. §1692f which prohibits a debt

collector from using “unfair or unconscionable means to collect or attempt to collect a debt.”

This claim is premised on the same conduct alleged to be in violation of 15 U.S.C. §1692e, e(2),

e(5), e(10) and e(11).

        “[C]ourts use § 1692f to punish conduct that FDCPA does not (otherwise) specifically

cover.” Lembach v. Bierman, 528 F. App'x 297, 304 (4th Cir. 2013). Where a plaintiff relies “on

conduct that is covered by § 1692e and do[es] not allege any separate or distinct conduct to

support a § 1692f violation, their claim fails.” Id. Because Plaintiff asserts that Defendant is

liable under § 1692f based solely on the same conduct Plaintiff also claims violates § 1692e and

its subparts, her claim under § 1692f should be dismissed.

III.    CONCLUSION

        For the foregoing reasons, Defendant respectfully requests that Plaintiff’s Complaint be

dismissed in its entirety.

                                         THE LAW OFFICES OF RONALD S. CANTER, LLC


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                                CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing was

served upon the individual(s) listed below by Electronic Notification pursuant to ECF procedures

this 21st day of November, 2017 to:

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